                   Case 22-50511                  Doc 10        Filed 11/30/22 Entered 11/30/22 15:02:29                           Desc Main
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 Fill in this information to identify the case:

 Debtor name                           Duc Pond Motosports, Inc.

 United States Bankruptcy Court for the:
                               Western District of Virginia

 Case number (if known):                22-50511                                                                                   ❑ Check if this is an
                                                                                                                                      amended filing

Official Form 206A/B
Schedule A/B: Assets — Real and Personal Property                                                                                                               12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include all property in
which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have no book value, such as
fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired leases. Also list them on Schedule G:
Executory Contracts and Unexpired Leases (Official Form 206G).
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write the debtor’s
name and case number (if known). Also identify the form and line number to which the additional information applies. If an additional sheet is attached,
include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset schedule or
depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the debtor’s interest, do not deduct
the value of secured claims. See the instructions to understand the terms used in this form.


 Part 1: Cash and cash equivalents


  1.   Does the debtor have any cash or cash equivalents?
       ❑ No. Go to Part 2.
       ✔ Yes. Fill in the information below.
       ❑
       All cash or cash equivalents owned or controlled by the debtor                                                                  Current value of debtor's
                                                                                                                                       interest

  2.   Cash on hand                                                                                                                                    $77,319.75

  3.   Checking, savings, money market, or financial brokerage accounts (Identify all)
       Name of institution (bank or brokerage firm)               Type of account                Last 4 digits of account number
       3.1 United Bank                                                Checking account                      1701                                         $821.02

  4.   Other cash equivalents (Identify all)
       None

  5.   Total of Part 1
                                                                                                                                                       $78,140.77
       Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.



 Part 2: Deposits and prepayments


  6.   Does the debtor have any deposits or prepayments?
       ✔ No. Go to Part 3.
       ❑
       ❑ Yes. Fill in the information below.
                                                                                                                                       Current value of debtor's
                                                                                                                                       interest
  7.   Deposits, including security deposits and utility deposits
       Description, including name of holder of deposit
       None

  8.   Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
       Description, including name of holder of prepayment


Official Form 206A/B                                          Schedule A/B: Assets — Real and Personal Property                                        page 1
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Debtor        Duc Pond Motosports, Inc.                                                                          Case number (if known)            22-50511
             Name



       None


  9.   Total of Part 2
                                                                                                                                                              $0.00
       Add lines 7 through 8 (including amounts on any additional sheets). Copy the total to line 81.



 Part 3: Accounts receivable


  10. Does the debtor have any accounts receivable?
         ❑ No. Go to Part 4.
         ✔ Yes. Fill in the information below.
         ❑

                                                                                                                                          Current value of debtor's
                                                                                                                                          interest

  11. Accounts Receivable

         11a. 90 days old or less:            $19,574.00                -               $19,574.00                  = ...... ➔                                $0.00
                                     face amount                            doubtful or uncollectible accounts


         11b. Over 90 days old:               $40,536.48                -               $40,536.48                  = ...... ➔                                $0.00
                                     face amount                            doubtful or uncollectible accounts


  12. Total of Part 3
                                                                                                                                                              $0.00
         Current value on lines 11a + 11b = line 12. Copy the total to line 82.



 Part 4: Investments


  13. Does the debtor own any investments?
         ✔ No. Go to Part 5.
         ❑
         ❑ Yes. Fill in the information below.

                                                                                                         Valuation method used for        Current value of debtor's
                                                                                                         current value                    interest

  14. Mutual funds or publicly traded stocks not included in Part 1
         Name of fund or stock:

         None


  15. Non-publicly traded stock and interests in incorporated and unincorporated
      businesses, including any interest in an LLC, partnership, or joint venture
         Name of fund or stock:                                                     % of
                                                                                    ownership:
         None


  16. Government bonds, corporate bonds, and other negotiable and non-negotiable
      instruments not included in Part 1
         Describe:

         None


Official Form 206A/B                                         Schedule A/B: Assets — Real and Personal Property                                           page 2
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Debtor       Duc Pond Motosports, Inc.                                                                   Case number (if known)            22-50511
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  17. Total of Part 4
                                                                                                                                                      $0.00
         Add lines 14 through 16 (including any additional sheets). Copy the total to line 83.



 Part 5: Inventory, excluding agriculture assets


  18. Does the debtor own any inventory (excluding agriculture assets)?
         ✔ No. Go to Part 6.
         ❑
         ❑ Yes. Fill in the information below.

         General description                                Date of the last        Net book value of   Valuation method used     Current value of debtor's
                                                            physical inventory      debtor's interest   for current value         interest
                                                                                    (Where available)


  19. Raw materials

         None

  20. Work in progress

         None

  21. Finished goods, including goods held for resale

         None

  22. Other inventory or supplies

         None

  23. Total of Part 5
         Add lines 19 through 22 (including any additional sheets). Copy the total to line 84.                                                        $0.00


  24. Is any of the property listed in Part 5 perishable?
         ✔ No
         ❑
         ❑ Yes
  25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
         ✔ No
         ❑
         ❑ Yes
  26. Has any of the property listed in Part 5 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑ Yes


 Part 6: Farming and fishing-related assets (other than titled motor vehicles and land)


  27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?
         ✔ No. Go to Part 7.
         ❑
         ❑ Yes. Fill in the information below.

         General description                                                        Net book value of   Valuation method used     Current value of debtor's
                                                                                    debtor's interest   for current value         interest
                                                                                    (Where available)

Official Form 206A/B                                         Schedule A/B: Assets — Real and Personal Property                                   page 3
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Debtor       Duc Pond Motosports, Inc.                                                                   Case number (if known)            22-50511
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  28. Crops — either planted or harvested

         None


  29. Farm animals Examples: Livestock, poultry, farm-raised fish

         None


  30. Farm machinery and equipment (Other than titled motor vehicles)

         None

  31. Farm and fishing supplies, chemicals, and feed

         None


  32. Other farming and fishing-related property not already listed in Part 6

         None

  33. Total of Part 6
         Add lines 28 through 32. Copy the total to line 85.                                                                                          $0.00


  34. Is the debtor a member of an agricultural cooperative?
         ✔ No
         ❑
         ❑ Yes. Is any of the debtor's property stored at the cooperative?
             ❑ No
             ❑ Yes

  35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?
         ✔ No
         ❑
         ❑ Yes
  36. Is a depreciation schedule available for any of the property listed in Part 6?
         ✔ No
         ❑
         ❑ Yes
  37. Has any of the property listed in Part 6 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑ Yes


 Part 7: Office furniture, fixtures, and equipment; and collectibles


  38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?
         ❑ No. Go to Part 8.
         ✔ Yes. Fill in the information below.
         ❑

         General description                                                       Net book value of    Valuation method used     Current value of debtor's
                                                                                   debtor's interest    for current value         interest
                                                                                   (Where available)


  39. Office furniture


Official Form 206A/B                                           Schedule A/B: Assets — Real and Personal Property                                 page 4
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Debtor       Duc Pond Motosports, Inc.                                                                   Case number (if known)            22-50511
             Name



              Bankers Corner Desk x 2 $300.00 Rolling Storage                              (Unknown)    Estimated FMV                             $555.00
              Drawer (White) $50.00 1 Folding Table $20.00 4 Ft Table
              $20.00 4 Drawer Lateral File Cabinet $50.00 Desk $10.00
              Desk Chairs (2) $25.00 6 Wall Shelves $30.00 Mannequin
         39.1 $25.00 Wall Pic $25.00

         Additional Page Total - See continuation page for additional entries                                                                   $3,390.00

  40. Office fixtures

         None


  41. Office equipment, including all computer equipment and
      communication systems equipment and software

              Phone System Base + 3 satelites $50.00 2 Working                             (Unknown)    Estimated FMV                             $680.00
              Computers $200.00 2 Computers (?) $100.00 Printer
              $50.00 Printer (?) $10.00 Shredder $20.00 Space Heaters
              (2) $50.00 Fan $25.00 Computer (?) $50.00 Coffee
         41.1 Machine $25.00 F

         Additional Page Total - See continuation page for additional entries                                                                  $10,525.00

  42. Collectibles Examples: Antiques and figurines; paintings, prints or
      other artwork; books, pictures, or other art objects; china and crystal;
      stamp, coin, or baseball card collections; other collections,
      memorabilia, or collectibles

         None


  43. Total of Part 7
                                                                                                                                               $15,150.00
         Add lines 39 through 42. Copy the total to line 86.

  44. Is a depreciation schedule available for any of the property listed in Part 7?
         ✔ No
         ❑
         ❑ Yes
  45. Has any of the property listed in Part 7 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑ Yes


 Part 8: Machinery, equipment, and vehicles


  46. Does the debtor own or lease any machinery, equipment, or vehicles?
         ✔ No. Go to Part 9.
         ❑
         ❑ Yes. Fill in the information below.
         General description                                                       Net book value of    Valuation method used     Current value of debtor's
         Include year, make, model, and identification numbers (i.e., VIN, HIN,    debtor's interest    for current value         interest
         or N-number)                                                              (Where available)


  47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm
      vehicles

         None




Official Form 206A/B                                           Schedule A/B: Assets — Real and Personal Property                                 page 5
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Debtor        Duc Pond Motosports, Inc.                                                                      Case number (if known)            22-50511
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  48. Watercraft, trailers, motors, and related accessories Examples:
      Boats, trailers, motors, floating homes, personal watercraft, and fishing
      vessels

         None


  49. Aircraft and accessories

         None


  50. Other machinery, fixtures, and equipment (excluding farm machinery
      and equipment)

         None


  51. Total of Part 8
                                                                                                                                                          $0.00
         Add lines 47 through 50. Copy the total to line 87.

  52. Is a depreciation schedule available for any of the property listed in Part 8?
         ✔ No
         ❑
         ❑ Yes

  53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑ Yes


 Part 9: Real Property


  54. Does the debtor own or lease any real property?
         ✔ No. Go to Part 10.
         ❑
         ❑ Yes. Fill in the information below.

         General description                                    Nature and extent of Net book value of     Valuation method used      Current value of debtor's
         Include street address or other description such as    debtor's interest in debtor's interest     for current value          interest
         Assessor Parcel Number (APN), and type of property     property             (Where available)
         (for example, acreage, factory, warehouse, apartment
         or office building), if available


  55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has interest

         None


  56. Total of Part 9
                                                                                                                                                          $0.00
         Add the current value on lines 55.1 through 55.3 and entries from any addition sheets. Copy the total to line 88.

  57. Is a depreciation schedule available for any of the property listed in Part 9?
         ✔ No
         ❑
         ❑ Yes
  58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑ Yes

Official Form 206A/B                                            Schedule A/B: Assets — Real and Personal Property                                    page 6
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Debtor       Duc Pond Motosports, Inc.                                                                   Case number (if known)            22-50511
             Name




 Part 10: Intangibles and Intellectual Property


  59. Does the debtor have any interests in intangibles or intellectual property?
         ✔ No. Go to Part 11.
         ❑
         ❑ Yes. Fill in the information below.

         General description                                                       Net book value of   Valuation method used      Current value of debtor's
                                                                                   debtor's interest   for current value          interest
                                                                                   (Where available)


  60. Patents, copyrights, trademarks, and trade secrets

         None

  61. Internet domain names and websites

         None


  62. Licenses, franchises, and royalties

         None

  63. Customer lists, mailing lists, or other compilations

         None


  64. Other intangibles, or intellectual property

         None

  65. Goodwill

         None


  66. Total of Part 10
                                                                                                                                                      $0.00
         Add lines 60 through 65. Copy the total to line 89.

  67. Do your lists or records include personally identifiable information of customers? (as defined in 11 U.S.C. §§ 101(41A) and 107)
         ✔ No
         ❑
         ❑ Yes
  68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?
         ✔ No
         ❑
         ❑ Yes
  69. Has any of the property listed in Part 10 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑ Yes


 Part 11: All other assets




Official Form 206A/B                                           Schedule A/B: Assets — Real and Personal Property                                 page 7
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Debtor        Duc Pond Motosports, Inc.                                                                  Case number (if known)            22-50511
             Name



  70. Does the debtor own any other assets that have not yet been reported on this form?
         ✔ No. Go to Part 12.
         ❑
         ❑ Yes. Fill in the information below.

                                                                                                                                  Current value of debtor's
                                                                                                                                  interest

  71. Notes receivable
         Description (include name of obligor)

         None


  72. Tax refunds and unused net operating losses (NOLs)
         Description (for example, federal, state, local)

         None


  73. Interests in insurance policies or annuities

         None


  74. Causes of action against third parties (whether or not a lawsuit has been filed)

         None


  75. Other contingent and unliquidated claims or causes of action of every nature,
      including counterclaims of the debtor and rights to set off claims

         None


  76. Trusts, equitable or future interests in property

         None


  77. Other property of any kind not already listed Examples: Season tickets,
      country club membership

         None


  78. Total of Part 11
                                                                                                                                                      $0.00
         Add lines 71 through 77. Copy the total to line 90.

  79. Has any of the property listed in Part 11 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑ Yes




Official Form 206A/B                                           Schedule A/B: Assets — Real and Personal Property                                 page 8
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Debtor        Duc Pond Motosports, Inc.                                                                                              Case number (if known)             22-50511
              Name


 Part 12: Summary


         Type of property                                                                    Current value of                            Current value
                                                                                             personal property                           of real property


  80. Cash, cash equivalents, and financial assets. Copy line 5,
      Part 1.                                                                                               $78,140.77

  81. Deposits and prepayments. Copy line 9, Part 2.                                                                  $0.00

  82. Accounts receivable. Copy line 12, Part 3.                                                                      $0.00

  83. Investments. Copy line 17, Part 4.                                                                              $0.00

  84. Inventory. Copy line 23, Part 5.                                                                                $0.00

  85. Farming and fishing-related assets. Copy line 33, Part 6.                                                       $0.00

  86. Office furniture, fixtures, and equipment; collectibles. Copy
      line 43, Part 7.                                                                                      $15,150.00

  87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                       $0.00


                                                                                                                                ➔                              $0.00
  88. Real property. Copy line 56, Part 9..........................................................................

  89. Intangibles and intellectual property. Copy line 66, Part 10.                                                   $0.00

  90. All other assets. Copy line 78, Part 11.                                          +                             $0.00



  91. Total. Add lines 80 through 90 for each column......                          91a.                    $93,290.77        + 91b.                           $0.00



                                                                                                                                                                               $93,290.77
  92. Total of all property on Schedule A/B. Lines 91a + 91b = 92 .................................................................................................




Official Form 206A/B                                                    Schedule A/B: Assets — Real and Personal Property                                                    page 9
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Debtor       Duc Pond Motosports, Inc.                                                            Case number (if known)            22-50511
            Name



          Additional Page


         General description                                                Net book value of   Valuation method used      Current value of debtor's
                                                                            debtor's interest   for current value          interest
                                                                            (Where available)

  39. Office furniture - Continued
              Table $5.00 Padded Chair $5.00 Enduro Display $25.00 3
              Rolling Display Stands $200.00 folding Table $20.00
              Ducati Display $200.00 Bar Height chair $50.00 2 drawer
              cabinet $25.00 Shelving $25.00 2 Workbenches w/
         39.2 storage $150.00                                                       (Unknown)    Estimated FMV                             $705.00

              High Table $25.00 Stainless Stand $50.00 Rolling Cart
              $25.00 Lg Wall hanging $500.00 2 Rolling carts $50.00
              Mechanics Desk $25.00 2 shelving units $50.00 2 rolling
              racks $25.00 Scorpion Display $25.00 Industrial Racks
         39.3 (11 sections) $1,500.00                                               (Unknown)    Estimated FMV                           $2,275.00

              3 padded chairs $25.00 Glass Table $100.00 2
              bookshelves $50.00 Computer Chair $25.00 6 ft Table
              $25.00 Tall Kitchen Table $10.00 Tall Black Cabinet
              $25.00 2 Desks $50.00 Metal Closet $25.00 2 Drawer
         39.4 Lateral File $25.00 4 Drawer File Cabinets (2) $50                    (Unknown)    Estimated FMV                             $410.00

  41. Office equipment - Continued
              TV $200.00 3 lifts $600.00 Lap Top $50.00 Fans $50.00
              Air Compressor $200.00 Fork Lift $1,500.00 Laminator
              $25.00 Lamp $25.00 Computer (?) $50.00 TV $25.00
         41.2 Cash Register $50.00                                                  (Unknown)    Estimated FMV                           $2,775.00

              Industrial Light Fixtures (4) $500.00 Fan/Heater $25.00
              Big Fan $100.00 Bike Starter $100.00 Scooter $100.00
              Lights $100.00 Fans $25.00 Flooring $100.00 Work
              Bench (2) $100.00 Small Tool Chest $100.00 "Service"
         41.3 Parts $6,000.00 Take Off Parts (scrap)                                (Unknown)    Estimated FMV                           $7,750.00




Official Form 206A/B                                    Schedule A/B: Assets — Real and Personal Property                               page 10
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 Fill in this information to identify the case:

     Debtor name     Duc Pond Motosports, Inc.

     United States Bankruptcy Court for the:                 Western                 District of             Virginia
                                                                                                   (State)
     Case number (if known):      22-50511                                                                                                             ❑   Check if this is an
                                                                                                                                                           amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                   12/15

Be as complete and accurate as possible.

1.     Do any creditors have claims secured by debtor’s property?
       ✔
       ❑   No. Check this box and submit page 1 of this form to the court with debtor’s other schedules. Debtor has nothing else to report on this form.
       ❑   Yes. Fill in all of the information below.

      Part 1:       List Creditors Who Have Secured Claims

 2.     List in alphabetical order all creditors who have secured claims. If a creditor has more than one                    Column A                       Column B
        secured claim, list the creditor separately for each claim.                                                          Amount of claim                Value of collateral
                                                                                                                             Do not deduct the value        that supports this
                                                                                                                             of collateral.                 claim

 2.1 Creditor’s name                                         Describe debtor’s property that is subject to a lien


        Creditor’s mailing address


                                                             Describe the lien

        Creditor’s email address, if known
                                                             Is the creditor an insider or related party?

        Date debt was incurred                               ❑   No
                                                             ❑   Yes
        Last 4 digits of account
        number                                               Is anyone else liable on this claim?
                                                             ❑   No
        Do multiple creditors have an interest in
        the same property?
                                                             ❑   Yes. Fill out Schedule H: Codebtors (Official Form 206H).

        ❑   No                                               As of the petition filing date, the claim is:
        ❑   Yes. Specify each creditor, including this       Check all that apply.
                 creditor, and its relative priority.        ❑   Contingent
                                                             ❑   Unliquidated
                                                             ❑   Disputed




 3.     Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional
        Page, if any.


Official Form 206D                                      Schedule D: Creditors Who Have Claims Secured by Property                                                   page 1 of 1
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 Fill in this information to identify the case:

 Debtor name                           Duc Pond Motosports, Inc.

 United States Bankruptcy Court for the:
                               Western District of Virginia

 Case number (if known):                22-50511                                                                                   ❑ Check if this is an
                                                                                                                                      amended filing

Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                              12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured
claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets
- Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases(Official Form 206G). Number the entries
in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1: List All Creditors with PRIORITY Unsecured Claims

  1.    Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507)
        ❑ No. Go to Part 2.
        ✔ Yes. Go to line 2.
        ❑
 2.    List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
       with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                               Total claim                 Priority amount

2.1 Priority creditor’s name and mailing address               As of the petition filing date, the claim is:   $15,209.00                   $15,209.00
                                                               Check all that apply.
       Internal Revenue Service
                                                               ❑ Contingent
       Stop Room 898                                           ❑ Unliquidated
       400 N 8th Street                                        ❑ Disputed
       Box 76
                                                               Basis for the Claim:
       Richmond, VA 23240

       Date or dates debt was incurred                         Is the claim subject to offset?
                                                               ✔ No
                                                               ❑
                                                               ❑ Yes
       Last 4 digits of account
       number
       Specify Code subsection of PRIORITY unsecured
       claim: 11 U.S.C. § 507(a) (8)

2.2 Priority creditor’s name and mailing address               As of the petition filing date, the claim is:   $28,893.00                   unknown
                                                               Check all that apply.
       Va Department Of Taxation*
                                                               ❑ Contingent
       P O Box 2156                                            ❑ Unliquidated
       Richmond, VA 23218-0000
                                                               ❑ Disputed
                                                               Basis for the Claim:
       Date or dates debt was incurred


                                                               Is the claim subject to offset?
       Last 4 digits of account                                ✔ No
                                                               ❑
       number                                                  ❑ Yes
       Specify Code subsection of PRIORITY unsecured
       claim: 11 U.S.C. § 507(a) (8)




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                          page 1 of 10
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           Name




 Part 1: Additional Page

2.3 Priority creditor’s name and mailing address      As of the petition filing date, the claim is:   $21,144.00                unknown
                                                      Check all that apply.
      Va Department Of Taxation*
                                                      ❑ Contingent
      P O Box 2156                                    ❑ Unliquidated
      Richmond, VA 23218-0000
                                                      ❑ Disputed
                                                      Basis for the Claim:
     Date or dates debt was incurred
                                                       Sales Tax

                                                      Is the claim subject to offset?
     Last 4 digits of account                         ✔ No
                                                      ❑
     number                                           ❑ Yes
     Specify Code subsection of PRIORITY unsecured
     claim: 11 U.S.C. § 507(a) (8)




Official Form 206E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                   page 2 of 10
                    Case 22-50511              Doc 10         Filed 11/30/22 Entered 11/30/22 15:02:29                              Desc Main
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Debtor        Duc Pond Motosports, Inc.                                                                       Case number (if known)             22-50511
             Name

 Part 2: List All Creditors with NONPRIORITY Unsecured Claims

  3.     List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured
         claims, fill out and attach the Additional Page of Part 2.
                                                                                                                                       Amount of claim

3.1 Nonpriority creditor’s name and mailing address                         As of the petition filing date, the claim is:              $4,000.00
                                                                            Check all that apply.
       Bill Dietz
                                                                            ❑ Contingent
       185 Timberwood Rd                                                    ❑ Unliquidated
                                                                            ❑ Disputed
       Monroe, VA 24574
                                                                            Basis for the claim:
                                                                            Is the claim subject to offset?
       Date or dates debt was incurred                                      ✔ No
                                                                            ❑
       Last 4 digits of account number
                                                                            ❑ Yes

3.2 Nonpriority creditor’s name and mailing address                         As of the petition filing date, the claim is:              $533.00
                                                                            Check all that apply.
       Blue Ridge Glass
                                                                            ❑ Contingent
       2232 Papermill Road                                                  ❑ Unliquidated
                                                                            ❑ Disputed
       Winchester, VA 22601
                                                                            Basis for the claim:
                                                                            Is the claim subject to offset?
       Date or dates debt was incurred                                      ✔ No
                                                                            ❑
       Last 4 digits of account number
                                                                            ❑ Yes

3.3 Nonpriority creditor’s name and mailing address                         As of the petition filing date, the claim is:              $5,040.00
                                                                            Check all that apply.
       Brian Zacherl
                                                                            ❑ Contingent
       32 Palisades Drive                                                   ❑ Unliquidated
                                                                            ❑ Disputed
       Stafford, VA 22554
                                                                            Basis for the claim:
                                                                            Is the claim subject to offset?
       Date or dates debt was incurred                                      ✔ No
                                                                            ❑
       Last 4 digits of account number
                                                                            ❑ Yes

       Nonpriority creditor’s name and mailing address                      As of the petition filing date, the claim is:              $242.00
3.4                                                                         Check all that apply.
       CarrMoto
                                                                            ❑ Contingent
       4629 Northwestern Dr.                                                ❑ Unliquidated
                                                                            ❑ Disputed
       Zionsville, IN 46077
                                                                            Basis for the claim:
                                                                            Is the claim subject to offset?
       Date or dates debt was incurred                                      ✔ No
                                                                            ❑
       Last 4 digits of account number
                                                                            ❑ Yes




Official Form 206E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                            page 3 of 10
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Debtor      Duc Pond Motosports, Inc.                                                                    Case number (if known)           22-50511
           Name




 Part 2: Additional Page

3.5 Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $20,000.00
                                                                       Check all that apply.
      Danny Sullivan
                                                                       ❑ Contingent
      105 Bethel Grange Rd                                             ❑ Unliquidated
                                                                       ❑ Disputed
      Winchester, VA 22603
                                                                       Basis for the claim:
                                                                       Is the claim subject to offset?
      Date or dates debt was incurred                                  ✔ No
                                                                       ❑
      Last 4 digits of account number
                                                                       ❑ Yes

3.6 Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $18,445.00
                                                                       Check all that apply.
      Donald L. Unger, II
                                                                       ❑ Contingent
      130 Country Club Circle                                          ❑ Unliquidated
                                                                       ❑ Disputed
      Winchester, VA 22602
                                                                       Basis for the claim:
                                                                       Is the claim subject to offset?
      Date or dates debt was incurred                                  ✔ No
                                                                       ❑
      Last 4 digits of account number
                                                                       ❑ Yes

3.7 Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $126,371.00
                                                                       Check all that apply.
      Ducati North America, Inc.
                                                                       ❑ Contingent
      1292 Reamwood Ave                                                ❑ Unliquidated
                                                                       ❑ Disputed
      Sunnyvale, CA 94089
                                                                       Basis for the claim:
                                                                       Is the claim subject to offset?
      Date or dates debt was incurred                                  ✔ No
                                                                       ❑
      Last 4 digits of account number
                                                                       ❑ Yes

      Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:              $5,560.00
3.8                                                                    Check all that apply.
      Erie Insurance Company
                                                                       ❑ Contingent
      Collections                                                      ❑ Unliquidated
                                                                       ❑ Disputed
      Department 100 Erie Insurance Place                              Basis for the claim:
      Erie, PA 16530-0000                                              Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
                                                                       ❑ Yes
      Date or dates debt was incurred

      Last 4 digits of account number




Official Form 206E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                       page 4 of 10
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 Part 2: Additional Page

3.9      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:              $850.00
                                                                       Check all that apply.
         Frederick County Customs
                                                                       ❑ Contingent
         465 Marple Rd                                                 ❑ Unliquidated
                                                                       ❑ Disputed
         Winchester, VA 22603
                                                                       Basis for the claim:
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.10 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $100.00
                                                                       Check all that apply.
         Frederick County Fabworks, LLC
                                                                       ❑ Contingent
         465 Marple Rd                                                 ❑ Unliquidated
                                                                       ❑ Disputed
         Winchester, VA 22603
                                                                       Basis for the claim:
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.11 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $13,500.00
                                                                       Check all that apply.
         Gary Ballio
                                                                       ❑ Contingent
         7015 Bay Front Drive                                          ❑ Unliquidated
                                                                       ❑ Disputed
         21403
                                                                       Basis for the claim:
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:              $12,640.00
3.12                                                                   Check all that apply.
         Hollis Cash
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
                                                                       ❑ Disputed
                                                                       Basis for the claim:
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number




Official Form 206E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                       page 5 of 10
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             Name




 Part 2: Additional Page

3.13 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $4,876.00
                                                                       Check all that apply.
         Hottel & Willis, P.C.
                                                                       ❑ Contingent
         314 N. Braddock St.                                           ❑ Unliquidated
                                                                       ❑ Disputed
         Winchester, VA 22601
                                                                       Basis for the claim:
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.14 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $23,151.00
                                                                       Check all that apply.
         Ian Damon
                                                                       ❑ Contingent
         550 M Ritchie Hwy                                             ❑ Unliquidated
                                                                       ❑ Disputed
         Severna Park, MD 21146
                                                                       Basis for the claim:
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.15 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $2,901.00
                                                                       Check all that apply.
         JB Haller
                                                                       ❑ Contingent
         17655 Stonegait Court                                         ❑ Unliquidated
                                                                       ❑ Disputed
         Round Hill, VA 20141
                                                                       Basis for the claim:
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:              $1,640.00
3.16                                                                   Check all that apply.
         Maryland Dept of Taxation
                                                                       ❑ Contingent
         301 W. Preston St                                             ❑ Unliquidated
                                                                       ❑ Disputed
         Baltimore, MD 21201
                                                                       Basis for the claim:
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes




Official Form 206E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                       page 6 of 10
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             Name




 Part 2: Additional Page

3.17 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $20.00
                                                                       Check all that apply.
         Mazworx Manufacturing, Inc.
                                                                       ❑ Contingent
         450 North Way                                                 ❑ Unliquidated
                                                                       ❑ Disputed
         Sanford, FL 32773
                                                                       Basis for the claim:
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.18 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $825.00
                                                                       Check all that apply.
         Morris Distributing
                                                                       ❑ Contingent
         628 Lee Hwy                                                   ❑ Unliquidated
                                                                       ❑ Disputed
         Verona, VA 24482
                                                                       Basis for the claim:
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.19 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $2,765.00
                                                                       Check all that apply.
         Roberts Oxygen
                                                                       ❑ Contingent
         P.O. Box 5507                                                 ❑ Unliquidated
                                                                       ❑ Disputed
         Derwood, MD 20855
                                                                       Basis for the claim:
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:              $4,579.00
3.20                                                                   Check all that apply.
         Shawn Loveric
                                                                       ❑ Contingent
         730 Civita Ave, Apt 203                                       ❑ Unliquidated
                                                                       ❑ Disputed
         Columbus, OH 43215
                                                                       Basis for the claim:
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes




Official Form 206E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                        page 7 of 10
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 Part 2: Additional Page

3.21 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:              $292.00
                                                                    Check all that apply.
         Shell Oil SOPUS Products
                                                                    ❑ Contingent
         PO Box 7247-6236                                           ❑ Unliquidated
                                                                    ❑ Disputed
         19170
                                                                    Basis for the claim:
                                                                    Is the claim subject to offset?
         Date or dates debt was incurred                            ✔ No
                                                                    ❑
         Last 4 digits of account number
                                                                    ❑ Yes

3.22 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:              $10,400.00
                                                                    Check all that apply.
         Ted Baird
                                                                    ❑ Contingent
         7085 Wyndale St., NW                                       ❑ Unliquidated
                                                                    ❑ Disputed
         Washington, DC 20015
                                                                    Basis for the claim:
                                                                    Is the claim subject to offset?
         Date or dates debt was incurred                            ✔ No
                                                                    ❑
         Last 4 digits of account number
                                                                    ❑ Yes




Official Form 206E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                       page 8 of 10
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              Name

 Part 3: List Others to Be Notified About Unsecured Claims

 4.     List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection
        agencies, assignees of claims listed above, and attorneys for unsecured creditors.
      If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.


          Name and mailing address                                                     On which line in Part 1 or Part 2 is the related         Last 4 digits of
                                                                                       creditor (if any) listed?                                account number,
                                                                                                                                                if any

 4.1     Ducati North America, Inc.                                                  Line 3.7

         c/o Greg I. Rose, Esq.                                                      ❑ Not listed. Explain
         30057 Orchard Lake Rd

         Farmington, MI 48334




Official Form 206E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                            page 9 of 10
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 Part 4: Total Amounts of the Priority and Nonpriority Unsecured Claims


  5.     Add the amounts of priority and nonpriority unsecured claims.


                                                                                                   Total of claim amounts



  5a. Total claims from Part 1                                                     5a.              $65,246.00




  5b. Total claims from Part 2                                                     5b.              $258,730.00
                                                                                          +

  5c. Total of Parts 1 and 2                                                       5c.              $323,976.00
      Lines 5a + 5b = 5c.




Official Form 206E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                            page 10 of 10
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 Fill in this information to identify the case:

 Debtor name                           Duc Pond Motosports, Inc.

 United States Bankruptcy Court for the:
                               Western District of Virginia

 Case number (if known):                22-50511              Chapter   7                                                         ❑ Check if this is an
                                                                                                                                     amended filing

Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                           12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries
consecutively.
 1.    Does the debtor have any executory contracts or unexpired leases?
       ✔ No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.
       ❑
       ❑ Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official Form
       206A/B).
 2. List all contracts and unexpired leases                                               State the name and mailing address for all other parties with whom the
                                                                                          debtor has an executory contract or unexpired lease

       State what the contract or
2.1    lease is for and the nature
       of the debtor’s interest

       State the term remaining

       List the contract number of
       any government contract


       State what the contract or
2.2    lease is for and the nature
       of the debtor’s interest

       State the term remaining

       List the contract number of
       any government contract


       State what the contract or
2.3    lease is for and the nature
       of the debtor’s interest

       State the term remaining

       List the contract number of
       any government contract


       State what the contract or
2.4    lease is for and the nature
       of the debtor’s interest

       State the term remaining

       List the contract number of
       any government contract




Official Form 206G                                      Schedule G: Executory Contracts and Unexpired Leases                                              page 1 of 1
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 Fill in this information to identify the case:

  Debtor name          Duc Pond Motosports, Inc.


  United States Bankruptcy Court for the:              Western              District of             Virginia

                                                                                                                                         ❑
                                                                                          (State)
  Case number (If known):            22-50511                                                                                                 Check if this is an
                                                                                                                                              amended filing


Official Form 206H
Schedule H: Codebtors                                                                                                                                           12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively.
Attach the Additional Page to this page.


  1.    Does the debtor have any codebtors?
        ✔
        ❑     No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
        ❑     Yes

  2.    In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of creditors,
        Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule on which the
        creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

         Column 1: Codebtor                                                                                    Column 2: Creditor

                                                                                                                                          Check all schedules
         Name                               Mailing address                                                    Name
                                                                                                                                          that apply:

 2.1                                                                                                                                      ❑   D
                                            Street                                                                                        ❑   E/F
                                                                                                                                          ❑   G


                                            City                   State                   ZIP Code

 2.2                                                                                                                                      ❑   D
                                            Street                                                                                        ❑   E/F
                                                                                                                                          ❑   G


                                            City                   State                   ZIP Code

 2.3                                                                                                                                      ❑   D
                                            Street                                                                                        ❑   E/F
                                                                                                                                          ❑   G


                                            City                   State                   ZIP Code

 2.4                                                                                                                                      ❑   D
                                            Street                                                                                        ❑   E/F
                                                                                                                                          ❑   G


                                            City                   State                   ZIP Code

 2.5                                                                                                                                      ❑   D
                                            Street                                                                                        ❑   E/F
                                                                                                                                          ❑   G


                                            City                   State                   ZIP Code




Official Form 206H                                                   Schedule H: Codebtors                                                          page 1 of    2
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                 Additional Page if Debtor Has More Codebtors

                Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

         Column 1: Codebtor                                                                     Column 2: Creditor

                                                                                                                             Check all schedules
         Name                         Mailing address                                           Name
                                                                                                                             that apply:

 2.6                                                                                                                         ❑   D
                                      Street                                                                                 ❑   E/F
                                                                                                                             ❑   G


                                      City                   State             ZIP Code




Official Form 206H                                             Schedule H: Codebtors                                             page   2   of     2
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 Fill in this information to identify the case:

 Debtor name                           Duc Pond Motosports, Inc.

 United States Bankruptcy Court for the:
                               Western District of Virginia

 Case number (if known):                22-50511                                                                                      ❑ Check if this is an
                                                                                                                                         amended filing

Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                               12/15
An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this form for the
schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any amendments of those
documents. This form must state the individual’s position or relationship to the debtor, the identity of the document, and the date. Bankruptcy Rules 1008
and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in connection with
a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



          Declaration and signature

         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another individual
         serving as a representative of the debtor in this case.
         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

         ❑     Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

         ❑     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

         ❑     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

         ❑     Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

         ❑     Schedule H: Codebtors (Official Form 206H)

         ❑     A Summary of Assets and Liabilities for Non-Individuals (Official Form 206A-Summary)

         ❑     Amended Schedule

         ❑     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

         ❑     Other document that requires a declaration




         I declare under penalty of perjury that the foregoing is true and correct.



         Executed on     11/30/2022
                          MM/ DD/ YYYY
                                                                            ✘ /s/ Julia Hylton
                                                                                Signature of individual signing on behalf of debtor


                                                                                Julia Hylton
                                                                                Printed name


                                                                                Sec/Treasuer (authorized by Board to
                                                                                sign)
                                                                                Position or relationship to debtor


Official Form B202                                  Declaration Under Penalty of Perjury for Non-Individual Debtors
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 Fill in this information to identify the case:

 Debtor name                                        Duc Pond Motosports, Inc.

 United States Bankruptcy Court for the:
                                          Western District of Virginia

 Case number (if known):                              22-50511                           Chapter            7                                                                                     ❑ Check if this is an
                                                                                                                                                                                                       amended filing

Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                                         12/15

 Part 1: Summary of Assets



 1. Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

    1a. Real Property:
           Copy line 88 from Schedule A/B........................................................................................................................................                                              $0.00


    1b. Total personal property:
           Copy line 91A from Schedule A/B......................................................................................................................................                                          $93,290.77

    1c. Total of all property:
           Copy line 92 from Schedule A/B.........................................................................................................................................
                                                                                                                                                                                                                          $93,290.77




  Part 2: Summary of Liabilities




 2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
    Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D.................                                                                                                               $0.00



 3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

    3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F....................................................................................                                                             $65,246.00


    3b. Total amount of claims of non-priority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F......................................................                                                            +           $258,730.00




 4. Total liabilities..............................................................................................................................................................................                     $323,976.00

    Lines 2 + 3a + 3b




Official Form 206Sum                                                                           Summary of Assets and Liabilities for Non-Individuals                                                                            page 1
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 Fill in this information to identify the case:

 Debtor name                            Duc Pond Motosports, Inc.

 United States Bankruptcy Court for the:
                                  Western District of Virginia

 Case number (if known):                 22-50511                                                                              ❑ Check if this is an
                                                                                                                                   amended filing

Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                  04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s
name and case number (if known).



 Part 1: Income


 1.     Gross revenue from business

         ❑ None
        Identify the beginning and ending dates of the debtor’s fiscal year, which         Sources of revenue                 Gross revenue
        may be a calendar year                                                             Check all that apply               (before deductions and
                                                                                                                              exclusions)

       From the beginning of the                                                         ✔ Operating a business
                                                                                         ❑                                                     $135,304.00
                                                                                         ❑ Other
       fiscal year to filing date:        From 01/01/2022         to    Filing date
                                                  MM/ DD/ YYYY


       For prior year:                    From 01/01/2021         to    12/31/2021       ✔ Operating a business
                                                                                         ❑                                                     $224,069.00
                                                  MM/ DD/ YYYY            MM/ DD/ YYYY
                                                                                         ❑ Other

       For the year before that:          From 01/01/2020         to    12/31/2020       ✔ Operating a business
                                                                                         ❑                                                     $237,187.00
                                                  MM/ DD/ YYYY            MM/ DD/ YYYY
                                                                                         ❑ Other


 2.     Non-business revenue
         Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits, and
         royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

         ✔ None
         ❑
                                                                                         Description of sources of revenue    Gross revenue from each
                                                                                                                              source
                                                                                                                              (before deductions and
                                                                                                                              exclusions)

      From the beginning of the
      fiscal year to filing date:        From 01/01/2022         to    Filing date
                                                  MM/ DD/ YYYY


      For prior year:                    From 01/01/2021         to    12/31/2021
                                                  MM/ DD/ YYYY           MM/ DD/ YYYY


      For the year before that:          From 01/01/2020         to    12/31/2020
                                                  MM/ DD/ YYYY           MM/ DD/ YYYY




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 Part 2: List Certain Transfers Made Before Filing for Bankruptcy
 3.     Certain payments or transfers to creditors within 90 days before filing this case
        List payments or transfers—including expense reimbursements—to any creditor, other than regular employee compensation, within 90 days before filing
        this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25 and every 3
        years after that with respect to cases filed on or after the date of adjustment.)

        ✔ None
        ❑
         Creditor’s name and address                        Dates              Total amount or value           Reasons for payment or transfer
                                                                                                               Check all that apply

 3.1.                                                                                                          ❑ Secured debt
        Creditor's name                                                                                        ❑ Unsecured loan repayments
                                                                                                               ❑ Suppliers or vendors
                                                                                                               ❑ Services
        Street

                                                                                                               ❑ Other
        City                         State   ZIP Code



 4.     Payments or other transfers of property made within 1 year before filing this case that benefited any insider
        List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed or
        co-signed by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount may be
        adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments listed in line 3.
        Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership debtor and their
        relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).
        ✔ None
        ❑
         Insider’s name and address                         Dates              Total amount or value           Reasons for payment or transfer


 4.1.
        Creditor's name


        Street




        City                         State   ZIP Code

         Relationship to debtor




 5.     Repossessions, foreclosures, and returns
        List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at a
        foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.
        ✔ None
        ❑
         Creditor’s name and address                        Description of the property                               Date                    Value of property




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 5.1.
        Creditor's name


        Street




        City                         State    ZIP Code



 6.     Setoffs
        List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account of the
        debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a debt.
        ✔ None
        ❑
         Creditor’s name and address                        Description of the action creditor took                    Date action was         Amount
                                                                                                                       taken

 6.1.
        Creditor's name
                                                             XXXX–
        Street




        City                         State    ZIP Code




 Part 3: Legal Actions or Assignments
 7.     Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
        List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved in any
        capacity—within 1 year before filing this case.
        ❑ None
 7.1.    Case title                              Nature of case                          Court or agency's name and address                    Status of case

        Ducati North America, Inc. v.           Collection on note                      Winchester Circuit Court                              ✔ Pending
                                                                                                                                              ❑
                                                                                                                                              ❑ On appeal
        Duc Pond Motosports, Inc                                                        Name
                                                                                        5 N. Kent St.
                                                                                        Street                                                ❑ Concluded
         Case number

        CL22-388                                                                        Winchester, VA 22601
                                                                                        City                         State     ZIP Code



 8.     Assignments and receivership
        List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
        receiver, custodian, or other court-appointed officer within 1 year before filing this case.
        ✔ None
        ❑




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 8.1.     Custodian’s name and address                     Description of the property                          Value


         Custodian’s name
                                                           Case title                                           Court name and address
         Street
                                                                                                               Name

                                                           Case number                                         Street
         City                         State    ZIP Code



                                                           Date of order or assignment                         City                          State   ZIP Code




 Part 4: Certain Gifts and Charitable Contributions
 9.      List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of the gifts
         to that recipient is less than $1,000
         ✔ None
         ❑
 9.1.     Recipient’s name and address                      Description of the gifts or contributions                   Dates given          Value


         Recipient’s name


         Street




         City                         State    ZIP Code


          Recipient’s relationship to debtor




 Part 5: Certain Losses
 10. All losses from fire, theft, or other casualty within 1 year before filing this case.
         ✔ None
         ❑
           Description of the property lost and how the         Amount of payments received for the loss                      Date of loss      Value of property
           loss occurred                                        If you have received payments to cover the loss, for                            lost
                                                                example, from insurance, government compensation,
                                                                or tort liability, list the total received.
                                                                List unpaid claims on Official Form 106A/B (Schedule
                                                                A/B: Assets – Real and Personal Property).


 10.1.




 Part 6: Certain Payments or Transfers
 11. Payments related to bankruptcy
         List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing of this
         case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy relief, or filing a
         bankruptcy case.
         ❑ None




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 11.1.    Who was paid or who received the transfer?            If not money, describe any property transferred           Dates              Total amount or
                                                                                                                                             value

         Cox Law Group                                         Attorney's Fees                                          06/02/2022                    $4,552.00


          Address                                              SCC Filing Fee                                           10/17/2022                      $110.00

         900 Lakeside Drive                                    Chapter 7 Filing Fee                                     11/11/2022                      $338.00
         Street


         Lynchburg, VA 24501
         City                         State   ZIP Code


          Email or website address



          Who made the payment, if not debtor?

         Duc Pond Motosports, Inc.




 12. Self-settled trusts of which the debtor is a beneficiary
         List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case to a
         self-settled trust or similar device.
         Do not include transfers already listed on this statement.
         ✔ None
         ❑
 12.1.     Name of trust or device                            Describe any property transferred                        Dates transfers       Total amount or
                                                                                                                       were made             value




           Trustee




 13. Transfers not already listed on this statement
         List any transfers of money or other property—by sale, trade, or any other means—made by the debtor or a person acting on behalf of the debtor within 2
         years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include both
         outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.
         ❑ None
 13.1.    Who received the transfer?                         Description of property transferred or payments            Date transfer       Total amount or
                                                             received or debts paid in exchange                         was made            value

         Various Third Party Buyers purchased               Assets and inventory of Debtor sold at auction; net        02/15/2022                   $77,319.75
         assets/inventory at Auction Sale                   proceeds of sale of $77,319.75 (net proceeds in form of
                                                            check from auctioneer held by Debtor and disclosed on
          Address
                                                            Schedule A/B #2)
         Auction by: Tom Hall Auctions, Inc., PO Box 310
         Street


         Schnecksville, PA 18078
         City                         State   ZIP Code


          Relationship to debtor

         Various Unrelated Third Party Buyers




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 Part 7: Previous Locations
 14. Previous addresses
         List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.
         ✔ Does not apply
         ❑
          Address                                                                                              Dates of occupancy

 14.1.                                                                                                        From                  To
         Street




         City                        State       ZIP Code




 Part 8: Health Care Bankruptcies
 15. Health Care bankruptcies
         Is the debtor primarily engaged in offering services and facilities for:
          —diagnosing or treating injury, deformity, or disease, or
          —providing any surgical, psychiatric, drug treatment, or obstetric care?
         ✔ No. Go to Part 9.
         ❑
         ❑ Yes. Fill in the information below.
          Facility name and address                         Nature of the business operation, including type of services the    If debtor provides meals
                                                            debtor provides                                                     and housing, number of
                                                                                                                                patients in debtor’s care

 15.1.
         Facility name


         Street
                                                            Location where patient records are maintained(if different from     How are records kept?
                                                            facility address). If electronic, identify any service provider.
         City                    State      ZIP Code                                                                           Check all that apply:
                                                                                                                               ❑ Electronically
                                                                                                                               ❑ Paper


 Part 9: Personally Identifiable Information

 16. Does the debtor collect and retain personally identifiable information of customers?
         ❑ No.
         ✔ Yes.
         ❑                                                                    Generally, only name, address and phone number of
                                                                              customers, with a limited number of credit card numbers saved
                  State the nature of the information collected and retained. in system.
                  Does the debtor have a privacy policy about that information?
                  ✔ No
                  ❑
                  ❑ Yes
 17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b) or other pension or profit-
     sharing plan made available by the debtor as an employee benefit?
         ✔ No. Go to Part 10.
         ❑




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        ❑ Yes. Does the debtor serve as plan administrator?
               ❑ No. Go to Part 10.
               ❑ Yes. Fill in below:
                         Name of plan                                                                  Employer identification number of the plan

                                                                                                      EIN:        –

                         Has the plan been terminated?
                         ❑ No
                         ❑ Yes


 Part 10: Certain Financial Accounts, Safe Deposit Boxes, and Storage Units
 18. Closed financial accounts
        Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold, moved,
        or transferred?
        Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
        cooperatives, associations, and other financial institutions.
        ✔ None
        ❑
         Financial institution name and address           Last 4 digits of account       Type of account              Date account was          Last balance
                                                          number                                                      closed, sold, moved,      before closing
                                                                                                                      or transferred            or transfer

 18.1                                                     XXXX–                         ❑ Checking
        Name
                                                                                        ❑ Savings
        Street
                                                                                        ❑ Money market
                                                                                        ❑ Brokerage
                                                                                        ❑ Other
        City                       State     ZIP Code
 19. Safe deposit boxes
        List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this case.
        ✔ None
        ❑
 19.1    Depository institution name and address          Names of anyone with access to it            Description of the contents                Does debtor
                                                                                                                                                  still have it?

                                                                                                                                                 ❑    No

                                                                                                                                                 ❑
        Name
                                                                                                                                                      Yes
        Street

                                                          Address

        City                       State     ZIP Code


 20. Off-premises storage
        List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in which the
        debtor does business.
        ✔ None
        ❑




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                  Name

 20.1     Facility name and address                               Names of anyone with access to it      Description of the contents               Does debtor
                                                                                                                                                   still have it?

                                                                                                                                                  ❑   No

                                                                                                                                                  ❑
         Name
                                                                                                                                                      Yes
         Street

                                                                  Address

         City                       State     ZIP Code




 Part 11: Property the Debtor Holds or Controls That the Debtor Does Not Own
 21. Property held for another
         List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do not list
         leased or rented property.
         ✔ None
         ❑
          Owner’s name and address                                     Location of the property                Description of the property                  Value


         Name


         Street




         City                         State     ZIP Code




 Part 12: Details About Environmental Information


 For the purpose of Part 12, the following definitions apply:
        Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
        medium affected (air, land, water, or any other medium).
        Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
        owned, operated, or utilized.
        Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a similarly
        harmful substance.

 Report all notices, releases, and proceedings known, regardless of when they occurred.

 22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.
         ✔ No
         ❑
         ❑ Yes. Provide details below.
          Case title                                       Court or agency name and address                   Nature of the case                           Status of case

                                                                                                                                                        ❑ Pending
          Case number
                                                         Name
                                                                                                                                                        ❑ On appeal
                                                         Street
                                                                                                                                                        ❑ Concluded


                                                         City                         State   ZIP Code




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                  Name
 23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
     environmental law?
         ✔ No
         ❑
         ❑ Yes. Provide details below.
          Site name and address                        Governmental unit name and address                 Environmental law, if known                Date of notice


         Name                                         Name


         Street                                       Street




         City                   State   ZIP Code      City                       State   ZIP Code

 24. Has the debtor notified any governmental unit of any release of hazardous material?
         ✔ No
         ❑
         ❑ Yes. Provide details below.
          Site name and address                        Governmental unit name and address                 Environmental law, if known                Date of notice


         Name                                         Name


         Street                                       Street




         City                   State   ZIP Code      City                       State   ZIP Code




 Part 13: Details About the Debtor’s Business or Connections to Any Business


 25. Other businesses in which the debtor has or has had an interest
         List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case. Include this
         information even if already listed in the Schedules.
         ✔ None
         ❑
          Business name and address                    Describe the nature of the business                        Employer Identification number
                                                                                                                  Do not include Social Security number or ITIN.
 25.1.
                                                                                                                EIN:          –
         Name
                                                                                                                  Dates business existed
         Street
                                                                                                                From                  To



         City                   State   ZIP Code


 26. Books, records, and financial statements
 26a.    List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
         ❑None




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           Name and address                                                                                   Dates of service

 26a.1. Katherine Pelech d/b/a KP Accounting Solutions, LLC                                                  From 2019           To ongoing
        Name
          PO Box Box 5204
          Street



          Herndon, VA 20170
          City                                          State                   ZIP Code


 26b.     List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial
          statement within 2 years before filing this case.
          ✔None
          ❑
           Name and address                                                                                   Dates of service

 26b.1.
                                                                                                             From                To
          Name


          Street




          City                                          State                   ZIP Code


 26c.     List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.
          ❑None
           Name and address                                                                                   If any books of account and records are
                                                                                                              unavailable, explain why
 26c.1.
          Julia Hylton
          Name
          PO Box 808
          Street



          Martinsburg, WV 25402
          City                                          State                   ZIP Code

 26d.     List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
          statement within 2 years before filing this case.
          ✔None
          ❑
           Name and address

 26d.1.
          Name


          Street




          City                                          State                   ZIP Code


 27. Inventories
        Have any inventories of the debtor’s property been taken within 2 years before filing this case?
        ✔ No
        ❑
        ❑ Yes. Give the details about the two most recent inventories.




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          Name of the person who supervised the taking of the inventory                           Date of             The dollar amount and basis (cost, market, or
                                                                                                  inventory           other basis) of each inventory




          Name and address of the person who has possession of inventory records

 27.1.
         Name


         Street




         City                                         State               ZIP Code

 28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people in
     control of the debtor at the time of the filing of this case.
          Name                              Address                                                        Position and nature of any             % of interest, if any
                                                                                                           interest

         Julia Hylton                    PO Box 808 Martinsburg, WV 25402                                 Sec/Treasurer, Shareholder                           50.00%

         Donald L. Unger, II             130 Country Club Circle Winchester, VA 22602                     President, Shareholder                               50.00%

 29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in control of
     the debtor, or shareholders in control of the debtor who no longer hold these positions?
         ✔ No
         ❑
         ❑ Yes. Identify below.
          Name                              Address                                                     Position and nature of any        Period during which
                                                                                                        interest                          position or interest was
                                                                                                                                          held

                                                                                                    ,                                      From
                                                                                                                                           To

 30. Payments, distributions, or withdrawals credited or given to insiders
         Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses, loans,
         credits on loans, stock redemptions, and options exercised?
         ❑ No
         ✔ Yes. Identify below.
         ❑
          Name and address of recipient                                          Amount of money or description            Dates                  Reason for providing
                                                                                 and value of property                                            the value


 30.1. Donald L. Unger, II                                                           TO BE AMENDED / AMOUNTS              11/11/2021 to        Salary /
       Name                                                                                 BEING DETERMINED              11/11/22             Compensation for
         130 Country Club Circle                                                                                                               services
         Street



         Winchester, VA 22602
         City                                     State        ZIP Code


          Relationship to debtor

         Part Owner

 31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?
         ✔ No
         ❑




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            Name

      ❑ Yes. Identify below.
           Name of the parent corporation                                                            Employer Identification number of the parent corporation

                                                                                                    EIN:        –


 32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?
      ✔ No
      ❑
      ❑ Yes. Identify below.
           Name of the pension fund                                                                  Employer Identification number of the pension fund

                                                                                                    EIN:        –



 Part 14: Signature and Declaration


    WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in connection with a
    bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


    I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true and
    correct.


    I declare under penalty of perjury that the foregoing is true and correct.


    Executed on          11/30/2022
                     MM/ DD/ YYYY




    ✘ /s/ Julia Hylton                                                   Printed name                        Julia Hylton
         Signature of individual signing on behalf of the debtor



      Position or relationship to debtor Sec/Treasuer (authorized by Board to sign)




    Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
    ✔ No
    ❑
    ❑ Yes




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                                                            United States Bankruptcy Court
                                                                                 Western District of Virginia

In re        Duc Pond Motosports, Inc.

                                                                                                                           Case No.                  22-50511

Debtor                                                                                                                     Chapter                       7


                                         DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

1.      Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
        compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered
        or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

        For legal services, I have agreed to accept ................................................................................................................................................
                                                                                                                                                                       $5,000.00

        Prior to the filing of this statement I have received ................................................................................................................................................
                                                                                                                                                                      $5,000.00

        Balance Due ................................................................................................................................................            $0.00

2.      The source of the compensation paid to me was:

        ✔ Debtor
        ❑                                ❑ Other (specify)
3.      The source of compensation to be paid to me is:

        ✔ Debtor
        ❑                                ❑ Other (specify)
4.      ✔
        ❑     I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my
        law firm.

        ❑     I have agreed to share the above-disclosed compensation with a other person or persons who are not members or associates of my
        law firm. A copy of the agreement, together with a list of the names of the people sharing in the compensation, is attached.

5.      In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

        a.      Analysis of the debtor' s financial situation, and rendering advice to the debtor in determining whether to file a petition in
                bankruptcy;

        b.      Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;

        c.      Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;

6.      By agreement with the debtor(s), the above-disclosed fee does not include the following services:

        Representation of the debtor in adversary proceedings




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B2030 (Form 2030) (12/15)


                                                             CERTIFICATION

                        I certify that the foregoing is a complete statement of any agreement or arrangement for payment to
                me for representation of the debtor(s) in this bankruptcy proceeding.

                        11/30/2022                                                   /s/ David Cox
                Date                                         David Cox
                                                             Signature of Attorney
                                                                                                 Bar Number: 38670
                                                                                                     Cox Law Group
                                                                                                 900 Lakeside Drive
                                                                                               Lynchburg, VA 24501
                                                                                              Phone: (800) 254-2760
                                                                                                Fax: (434) 845-0727

                                                                                 Cox Law Group
                                                            Name of law firm




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Bill Dietz                            Blue Ridge Glass                  Brian Zacherl
185 Timberwood Rd                     2232 Papermill Road               32 Palisades Drive
Monroe, VA 24574                      Winchester, VA 22601              Stafford, VA 22554




CarrMoto                              Danny Sullivan                    Donald L. Unger, II
4629 Northwestern Dr.                 105 Bethel Grange Rd              130 Country Club Circle
Zionsville, IN 46077                  Winchester, VA 22603              Winchester, VA 22602




Ducati North America, Inc.            Ducati North America, Inc.        Erie Insurance Company
1292 Reamwood Ave                     c/o Greg I. Rose, Esq.            Collections Department 100 Erie
Sunnyvale, CA 94089                   30057 Orchard Lake Rd             Insurance Place
                                      Farmington, MI 48334              Erie, PA 16530-0000



Frederick County Customs              Frederick County Fabworks,        Gary Ballio
465 Marple Rd                         LLC                               7015 Bay Front Drive
Winchester, VA 22603                  465 Marple Rd                     21403
                                      Winchester, VA 22603



Hollis Cash                           Hottel & Willis, P.C.             Ian Damon
                                      314 N. Braddock St.               550 M Ritchie Hwy
                                      Winchester, VA 22601              Severna Park, MD 21146




Internal Revenue Service              JB Haller                         Maryland Dept of Taxation
Stop Room 898                         17655 Stonegait Court             301 W. Preston St
400 N 8th Street                      Round Hill, VA 20141              Baltimore, MD 21201
Box 76
Richmond, VA 23240


Mazworx Manufacturing, Inc.           Morris Distributing               Roberts Oxygen
450 North Way                         628 Lee Hwy                       P.O. Box 5507
Sanford, FL 32773                     Verona, VA 24482                  Derwood, MD 20855




Shawn Loveric                         Shell Oil SOPUS Products          Ted Baird
730 Civita Ave, Apt 203               PO Box 7247-6236                  7085 Wyndale St., NW
Columbus, OH 43215                    19170                             Washington, DC 20015




Va Department Of Taxation*
P O Box 2156
Richmond, VA 23218-0000
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                                                IN THE UNITED STATES BANKRUPTCY COURT
                                                      WESTERN DISTRICT OF VIRGINIA
                                                         HARRISONBURG DIVISION

IN RE: Duc Pond Motosports, Inc.                                                      CASE NO 22-50511

                                                                                      CHAPTER 7




                                                  VERIFICATION OF CREDITOR MATRIX

 The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.


Date      11/30/2022            Signature                                    /s/ Julia Hylton
                                                         Julia Hylton, Sec/Treasuer (authorized by Board to sign)
